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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                              :

                v.                                    :       CRIMINAL NO. 09-744-09

MAODO KANE                                            :


                 GOVERNMENT'S CHANGE OF PLEA MEMORANDUM


I.     INTRODUCTION

               On November 24, 2009, a grand jury returned an indictment charging defendant

Maodo Kane with two counts: (1) one count of conspiracy to traffic in counterfeit goods, in violation

of 18 U.S.C. § 371, and (2) one count of trafficking in counterfeit goods, and aiding and abetting the

same, in violation of 18 U.S.C. §§ 2314, 21, and 2. The defendant has stated that he wishes to plead

guilty to the indictment, and his plea hearing is presently being scheduled by the Court.



II.    SUMMARY OF PLEA AGREEMENT

       The defendant has signed a plea agreement. An unsigned version of the agreement is

attached to this memorandum. The parties will provide a signed, original version of this plea

agreement during the change-of-plea hearing.

               Guideline Stipulations

       Pursuant to U.S.S.G. § 6B1.4, the parties enter into the following stipulations under the

Sentencing Guidelines Manual effective November 1, 2009:
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   a.    The parties agree and stipulate that, pursuant to U.S.S.G. § 2B1.1(a)(1), the

         base offense level is 6.

   b.    The parties agree and stipulate that the reasonably foreseeable fraud loss

         caused and intended by the defendant in furtherance of the criminal activity

         jointly undertaken by the defendant and his co-conspirators was more than

         $200,000 but less than $400,000; this amount was within the scope of the

         defendant’s agreement; this amount was reasonably foreseeable to the

         defendant in connection with the scheme; and the defendant’s guideline range

         should be calculated based on this amount pursuant to U.S.S.G. § 1B1.3,

         which results in a 12-level increase in the base offense level, pursuant to

         U.S.S.G. § 2B1.1(b)(1)(G).

   c.    The parties agree and stipulate that, as of the date of this agreement, the

         defendant has demonstrated acceptance of responsibility for his offense

         making the defendant eligible for a 2-level downward adjustment under

         Guideline Section 3E1.1(a).

   d.    The government and the defendant agree and stipulate that, as of the date of

         this agreement, the defendant has assisted authorities in the investigation or

         prosecution of his own misconduct by timely notifying the government of his

         intent to plead guilty, thereby permitting the government to avoid preparing

         for trial and permitting the government and the court to allocate their

         resources efficiently, resulting in a 1-level downward adjustment under

         U.S.S.G. § 3E1.1(b).


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               Appellate Waiver

       In exchange for the undertakings made by the government in entering the plea agreement, the

defendant voluntarily and expressly waives all rights to appeal or collaterally attack the defendant’s

conviction, sentence, or any other matter relating to this prosecution, whether such a right to appeal

or collateral attack arises under 18 U.S.C. § 3742, 28 U.S.C. § 1291, 28 U.S.C. § 2255, or any other

provision of law. This waiver is not intended to bar the assertion of constitutional claims that the

relevant case law holds cannot be waived.

               a.      Notwithstanding the waiver provision above, if the government appeals from

                       the sentence, then the defendant may file a direct appeal of his sentence.

               b.      If the government does not appeal, then notwithstanding the waiver provision

                       set forth in the paragraph above, the defendant may file a direct appeal but

                       may raise only claims that:

                       (1)     the defendant’s sentence on any count of conviction exceeds the

                               statutory maximum for that count;

                       (2)     the sentencing judge erroneously departed upward pursuant to the

                               Sentencing Guidelines; and/or

                       (3)     the sentencing judge, exercising the Court’s discretion pursuant to

                               United States v. Booker, 520 U.S. 220 (2005), imposed an

                               unreasonable sentence above the final Sentencing Guideline range

                               determined by the Court.




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               Forfeiture

       The defendant agrees to not contest forfeiture pursuant to 18 U.S.C. § 982, all arising from

his participation in a scheme with others to traffic in counterfeit goods.

               No Additional Promises

       The parties also agree and understand that the parties’ guilty plea agreement contains no

additional promises, agreements or understandings other than those set forth in this written guilty

plea agreement, and that no additional promises, agreements or understandings will be entered into

unless in writing and signed by all parties.




III.   ELEMENTS OF THE OFFENSES

       A.      CONSPIRACY (Count 20)

       To prove a violation of Title 18, United States Code, Section 371 (conspiracy), the

government must prove the following elements beyond a reasonable doubt:

               1.      that the defendant conspired with at least one other person to commit an

                       unlawful act, in this case, to traffic in counterfeit goods;

               2.      that the defendant did so knowingly and willfully; and

               3.      that an overt act was knowingly committed in furtherance of the conspiracy.



       B.      TRAFFICKING IN COUNTERFEIT GOODS (Count 25)

       To prove a violation of Title 18, United States Code, Section 2320 (trafficking in counterfeit

goods), the government must prove the following elements beyond a reasonable doubt:

               1.      The defendant intentionally;


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               2.        trafficked or attempted to traffic;

               3.        in goods or services; and

               4.        knowingly used a counterfeit mark on or in connection with such goods or

                         services.



IV.    STATUTORY MAXIMUM SENTENCE

       The defendant understands, agrees, and has had explained to him by counsel that the Court

may impose the following statutory maximum sentence for the Counts charged: Count Twenty

(conspiracy) — 5 years imprisonment, a $250,000 fine, three years supervised release, $100

mandatory special assessment; and Count Twenty-Five (transportation of stolen property) — 10

years imprisonment, a $250,000 fine, three years supervised release, $100 mandatory special

assessment.

       Thus, the total maximum sentence is 15 years imprisonment, 3 years supervised release, a

$500,000 fine, and a $200 mandatory special assessment.

       The defendant further understands that supervised release may be revoked if its terms and

conditions are violated. When supervised release is revoked, the original term of imprisonment may

be increased by 2 years in the case of Class C felonies. Thus, a violation of supervised release

increases the possible period of incarceration and makes it possible that the defendant will have to

serve the original sentence, plus a substantial additional period, without credit for time already spent

on supervised release.




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V.      FACTUAL BASIS FOR THE PLEA

        At a trial, the government would have proven that the defendant committed the charged

crimes by witness testimony and the presentation of evidence which supports the following recitation

of facts:

        Between in or about January 2008 and in or about November 2009, co-defendant MOUSSA

ALI HAMDAN and several associates purchased counterfeit goods from a cooperating witness (the

“CW”). Specifically, on or about July 24, 2008, defendant MAODO KANE traveled in two cars

with co-defendants MOUSSA ALI HAMDAN, ALAA ALLIA AHMED MOHAMED, a/k/a “Alaa

Ahmed Mohamed Abouelnagaa,” and MICHAEL KATZ to pick up counterfeit goods (a total of

approximately 1,572 pairs of Nike® shoes and approximately 334 Mitchell & Ness® sports jerseys

from the CW’s Philadelphia storage facility. While the defendants were loading the goods into a

van, the CW reiterated to defendant MOHAMED that the goods were counterfeit; defendant

MOHAMED responded that he knew this, and that he even knew that it was a federal crime in which

“the hit is 25 years!” Partial payment was made to the CW on or about July 24, 2008, by defendant

HAMDAN producing approximately $1,500 cash from his pocket and obtaining another

approximately $1,000 in cash from defendant MOHAMED. Defendant HAMDAN noted in

conversation with the CW that defendant MOHAMED worked for defendant HAMDAN and would

sell these shoes at flea markets.

        The defendants could not fit all of the counterfeit goods into their two vans on or about July

24, 2008. Consequently, defendants HAMDAN, KANE, and KATZ returned to the CW’s

Philadelphia storage facility on or about July 28, 2008, to take possession of the remainder of the

shoes and sports jerseys that they were unable to take on July 24th. Defendant HAMDAN provided


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the CHS with another $1,000 in cash in partial payment. As defendants KANE and KATZ were

loading the counterfeit goods into vans, the CW advised them to hurry in order to avoid being

“exposed” loading the vans.

       Following his arrest, the defendant confessed his crimes to the arresting agents. In particular,

defendant KANE admitted that he knew the shoes and jerseys to be counterfeit when he participated

in the July 2008 transactions, and he knew that the counterfeit goods would be sold at flea markets.

       The retail value of the goods involved in the charged transactions was approximately

$246,200.




                                               Respectfully submitted,

                                               MICHAEL L. LEVY
                                               United States Attorney



                                                 /s/
                                               NANCY BEAM WINTER/STEPHEN A. MILLER
                                               Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

              I hereby certify that a true and correct copy of the Government's Change of Plea

Memorandum has been served by me, this date, by electronic mail upon the following individual:

                                    Michael J. Engle, Esq.
                                    Trigiani & Engle, LLP
                                    123 S. Broad Street, Suite 1812
                                    Philadelphia, PA 19109


                                             /s/
                                           STEPHEN A. MILLER
                                           Assistant United States Attorney


DATE: January 25, 2010




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